           Case 22-12581-amc                   Doc       Filed 05/22/25 Entered 05/22/25 12:30:24                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 9
 Debtor 1               Andrew L. Dudzek
                       __________________________________________________________________

                       Jennifer L. Dudzek
 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            EASTERN                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        22-12581-amc
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   PennyMac Loan Services, LLC.                                                                             29
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          2053 ____ ____ ____
                                                         ____                            Must be at least 21 days after date          07/01/2025
                                                                                         of this notice


                                                                                         New total payment:
                                                                                                                                   $ 1,938.77
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
            No
       X
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why: ___________________________________________
                 __________________________________________________________________________________________________

                   Current escrow payment: $ _539.07_________                          New escrow payment:         $ 610.45


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       X    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why: _______________________________________________________________________________
                 __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       X    No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                                  page 1
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Debtor 1         Andrew L. Dudzek
                 _______________________________________________________                                                22-12581-amc
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.
      X
           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.


                                                                                                           05/22/25
      /s/ Andrew M. Lubin
     _____________________________________________________________                              Date    ____/_____/________
     Signature




 Print:              Andrew M. Lubin
                    _________________________________________________________                   Title    Attorney for creditor
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company             McCabe, Weisberg & Conway, LLC
                    _________________________________________________________



 Address             1420 Walnut Street, Suite 1501
                    _________________________________________________________
                    Number                 Street

                     Philadelphia, PA 19102
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone        215
                    (______)  790
                             _____–   1010
                                    _________                                                          ecfmail@mwc-law.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                     UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re: Andrew L. Dudzek and Jennifer L. Chapter 13
Dudzek                                  Bankruptcy No. 22-12581-amc

                      Debtor(s)

PennyMac Loan Services, LLC., or its Successor
or Assignee
                   Movant
            vs.

SCOTT F. WATERMAN (Chapter 13), Trustee
Andrew L. Dudzek and Jennifer L. Dudzek
                   Respondent(s)

 CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

       I, Andrew M. Lubin, attorney for PennyMac Loan Services, LLC., hereby certify that I
served a true and correct copy of the foregoing Notice of Mortgage Payment Change, by United
States Mail, first class, postage prepaid, and/or electronic means, upon the following:
Date Served: 05/22/25
Andrew L. Dudzek                  MICHAEL A. CIBIK                 SCOTT F. WATERMAN
8036 Albion Street                Cibik Law, P.C.                  (Chapter 13)
Philadelphia, Pennsylvania        1500 Walnut Street               Chapter 13 Trustee
19136                             Suite 900                        2901 St. Lawrence Ave.
                                  Philadelphia, PA 19102           Suite 100
Jennifer L. Dudzek                Attorney for Debtors             Reading, Pennsylvania 19606
8036 Albion Street                                                 Trustee
Philadelphia, Pennsylvania
19136                             Office of the United States
                                  Trustee
MICHAEL I. ASSAD                  Robert N.C. Nix Federal
Cibik Law, P.C.                   Building
1500 Walnut St                    900 Market Street Suite 320
Ste 900                           Philadelphia, Pennsylvania
Philadelphia, PA 19102            19107
Attorney for Debtors


                                      /s/ Andrew M. Lubin
                                      MARISA MYERS COHEN, ESQUIRE ID #87830
                                      ANDREW M. LUBIN, ESQUIRE ID # 54297
                                      Attorney for PennyMac Loan Services, LLC.
                                      1420 Walnut Street, Suite 1501
                                      Philadelphia, PA 19102
                                      Telephone: (215) 790-1010
                                      Facsimile: (215) 790-1274
                                      Email: ecfmail@mwc-law.com
^LOAN:8018312053^^MAILID:72163824^^PLEX:DUPLX^

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                                                                                                   Escrow Account Disclosure Statement
                             P.O. Box 514387                                                                  Statement Date: May 2, 2025
                             Los Angeles, CA 90051-4387


                                                                                                              Property Address:
                                                                                                              8036 ALBION ST
                                                                                                              PHILADELPHIA PA 19136

                                                                                                                 Questions? Visit our website @
                                                                                                                 PENNYMAC.COM
                ANDREW L DUDZEK
                JENNIFER DUDZEK                                                                                  800.777.4001 (Se Habla Español)
                8036 ALBION ST                                                                                   M - F: 5:00AM - 6:00PM PT
                PHILADELPHIA, PA 19136-1817                                                                      Sat: 7:00AM - 11:00AM PT

               Annual Escrow Account Review
               At least once each year, PennyMac Loan Services, LLC (“Pennymac”) reviews your escrow account to make sure there is
               enough money to pay your property taxes and/or insurance premiums. This statement informs you of any adjustments
               to your monthly payment, shows you how much money you currently have in your escrow account and how much you
               will need in the next 12 months.

               You can also find details about escrow payment changes by logging into your customer portal at PENNYMAC.COM,
               navigating to the Escrow Center, and then to the Escrow Analysis Payment Change tool.


               Your New Mortgage Payment
              During the next year, your escrow account balance is projected to have a shortage and/or escrow reserve payment
              (meaning not enough funds to pay your taxes and/or insurance as they come due). See Your Escrow Shortage and/or
              Reserve section in the following pages for more details.
                                                                   Current Monthly Payment             New Monthly Payment Amount with
                                       Description
                                                                           Amount                       Spread Shortage Over 36 Months

                             Principal and Interest                        $1,328.32                                $1,328.32

                             Escrow Payment                                 $492.14                                  $540.62

                             Shortage Payment                                $26.43                                   $39.80

                             Escrow Reserve Payment                          $20.50                                   $30.03

                             Total Payment Amount                          $1,867.39                                $1,938.77

                 Please start making the 'New Monthly Payment Amount' on July 1, 2025. Payments due prior to this date should be
                 made at the 'Current Monthly Payment Amount' shown.

                 Projected Escrow Account Activity
                  Over the next year, Pennymac expects to pay $6,487.46 from your escrow account. Your new monthly escrow
                  payment is $540.62.
                                                 Escrow Item Description         Annual Amount                 Monthly Amount
                                         City Tax:                                     $3,779.46
                                         Hazard Ins:                                   $2,708.00
                                         Total Payments from Escrow:                   $6,487.46     ÷ 12 =         $540.62
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    Projected Escrow Account Activity (Continued)
    Below is a projection of escrow account activity from July 01, 2025 through June 30, 2026. These amounts may change
    when the actual payments become due.

                                            Deposit(s) to     Payment(s) from                                 Projected
                     Month                    Escrow              Escrow              Descriptions             Balance
       Beginning Escrow Balance                                                                                 $188.73
       Jul 2025                                 $540.62                 $0.00                                   $729.35
       Aug 2025                                 $540.62                 $0.00                                 $1,269.97
       Sep 2025                                 $540.62                 $0.00                                 $1,810.59
       Oct 2025                                 $540.62                 $0.00                                 $2,351.21
       Nov 2025                                 $540.62                 $0.00                                 $2,891.83
       Dec 2025                                 $540.62                 $0.00                                 $3,432.45
       Jan 2026                                 $540.62                 $0.00                                 $3,973.07
       Jan 2026                                   $0.00              $2,708.00   Homeowners                   $1,265.07
       Feb 2026                                 $540.62                 $0.00                                 $1,805.69
       Mar 2026                                 $540.62                 $0.00                                 $2,346.31
       Mar 2026                                   $0.00              $3,779.46   City Tax                    ($1,433.15) 1
       Apr 2026                                 $540.62                 $0.00                                 ($892.53)
       May 2026                                 $540.62                 $0.00                                 ($351.91)
       Jun 2026                                 $540.62                 $0.00                                   $188.71
       Ending Escrow Balance                                                                                    $188.71
       Totals                                 $6,487.44              $6,487.46
        1
            Lowest projected balance.


    Your Escrow Shortage and/or Reserve
    Based on the projected activity above, our review shows that your escrow balance is less than $0. This means you have
    a deficiency (meaning negative balance) of ($350.34), a shortage of ($1,433.15), and an additional required balance of
    $1,081.23 to satisfy the reserve. See the lowest projected balance in the table above to find out when this will occur.

                             Lowest Projected Balance                                       ($1,433.15)

                             Minimum Required Balance                                        $1,081.23

                             Escrow Shortage and/or Escrow Reserve                           $2,514.38

    Pennymac requires a minimum balance up to one-sixth of the estimated total annual payments from your escrow
    account, unless state law or your mortgage contract requires less, to help cover any unexpected increases in taxes
    and/or insurance. The minimum required balance does not include mortgage insurance.
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           Escrow Account History

           The following is the statement of activity in your escrow account from July 01, 2024 through June 30, 2025.

           Last year, we anticipated that payments from your account would be made during this period equaling $5,905.69.
           Your lowest monthly balance should not have exceeded $984.27, or 1/6 of anticipated payments from the account,
           unless your mortgage contract or state law specifies a lower amount.

           The table below shows the Projected and Actual account history for the previous escrow account period.

                  Deposits to Escrow                               Payments from Escrow                                  Escrow Balance
Month         Projected           Actual              Projected                  Actual             Description           Projected          Actual
Beginning Escrow Balance                                                                                                     $207.35         $746.42

Jul 2024          $539.07        $539.07                   $0.00                   $0.00                                     $746.42        $1,285.49

Aug 2024          $539.07        $539.07                   $0.00                   $0.00                                    $1,285.49       $1,824.56

Sep 2024          $539.07        $539.07                   $0.00                   $0.00                                    $1,824.56       $2,363.63

Oct 2024          $539.07        $539.07                   $0.00                   $0.00                                    $2,363.63       $2,902.70

Nov 2024          $539.07        $539.07                   $0.00                   $0.00                                    $2,902.70       $3,441.77

Dec 2024          $539.07        $539.07                   $0.00               $2,708.00 *           Hazard Ins             $3,441.77       $1,272.84

Jan 2025          $539.07        $539.07               $2,353.00                   $0.00 *           Hazard Ins             $1,627.84       $1,811.91

Feb 2025          $539.07        $539.07                   $0.00                   $0.00                                    $2,166.91       $2,350.98

Mar 2025          $539.07        $539.07               $3,552.69               $3,779.46 *            City Tax              ($846.71)       ($889.41)2

Apr 2025          $539.07           $0.00 *                $0.00                   $0.00                                    ($307.64)       ($889.41)2

May 2025          $539.07        $539.07                   $0.00                   $0.00                                     $231.43        ($350.34)

Jun 2025          $539.07        $539.07 E                 $0.00                   $0.00                                     $770.50         $188.73

Ending Escrow Balance                                                                                                        $770.50         $188.73

Totals          $6,468.84       $5,929.77              $5,905.69                    $6,487.46
      2
       Lowest actual balance.
      An asterisk ‘*’ beside an amount indicates a difference from projected activity, either in the amount or the date.
      The letter ‘E’ beside an amount indicates that the payment has not yet occurred, but is estimated to occur as shown.
      At the time of analysis, Pennymac assumes that you will make all scheduled mortgage payments by or before the effective date of your new
      payment (shown in the Projected Escrow Account Activity section above).
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                                                                     Other Important Information
                                      PENNYMAC.COM                                    Pennymac Customer Service:                           PennyMac Loan Services, LLC
                                Available 24/7 on all your devices:              800.777.4001                                          Attn: Correspondence Unit
     How to                     PC, Tablet, and Mobile.                                                                                P.O. Box 514387
                                                                                 M-F: 5:00AM - 6:00PM PT
     Contact Us                 El sitio web y las declaraciones están                                                                 Los Angeles, CA 90051-4387
                                                                                 Sat: 7:00AM - 11:00AM PT
                                disponibles en español.
                                Go Paperless today!
                                Auto-Pay *: Enroll in Auto-Pay, on our           Pay-by-Phone: 800.777.4001                            Check **: Mail to Pennymac:
                                website, to set up recurring payments from       (Fees may apply to use this service)                  Standard Address: P.O. Box 660929
                                the bank account of your choice.                 Western Union:                                        Dallas, TX 75266-0929
       How to Make a
                                Pay Online: Make a one-time payment on           Code City: PennyMac                                   Overnight Address:
       Payment
                                our website.                                     Pay To: PennyMac Loan Services                        Attn: Lockbox Operations
                                                                                 Code State: CA                                        20500 Belshaw Ave.
                                                                                 ID Number: Enter Loan Number                          Carson, CA 90746

                                Property Tax Bills:                                                       General Insurance Questions: 866.318.0208
                                If you receive a tax bill, you do not need to take any action. (Please    Insurance Information: Anytime there is a change to your insurance
                                note: Supplemental/ Additional tax bills are the responsibility of the    policy please provide your insurance carrier the following
     Tax and                    homeowner; Pennymac will pay them from the escrow account upon            information:
     Insurance                  request.)                                                                         Mortgagee Clause:
     Information                                                                                                  PennyMac Loan Services, LLC
                                                                                                                  Its Successors and/or Assigns
                                                                                                                  P.O. Box 6618
                                                                                                                  Springfield, OH 45501-6618
     Credit                We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
     Reporting Information be reflected in your credit report.

     Important                  This is an attempt by a debt collector to collect a debt and any information obtained will be used for that purpose. However, if your account
     Consumer                   is subject to pending bankruptcy proceedings or if you have received a discharge in bankruptcy, this statement is for informational purposes
     Information                only and is not an attempt to collect a debt against you personally.

     Requests for prior payment adjustments: To request funds for a prior payment be applied differently, you must notify Pennymac within 90 days of the original
     transaction. After 90 days, we will only change the application of funds if the transaction was applied contrary to your documented instructions.

* If you are enrolled in a Pennymac Auto-Pay program, and received a payment change notification, the new payment amount will be drafted on your scheduled draft date. (The
principal curtailment amount will not change.) If you pay via online bill payment, please update the payment amount with your financial institution to ensure timely processing of
your payment.
** When you pay with a check, you authorize Pennymac either to use information from your check to make a one-time electronic fund transfer (EFT) from your account, or to process
the payment as a check transaction. When we use information from your check to make an EFT, funds may be withdrawn from your account on the same day Pennymac receives your
payment. Please note that your financial institution will not send back your check. If funds are returned unpaid, a return service charge may be assessed to your loan whether
processing your payment as a check or an EFT, as allowed by applicable law.
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In accordance with the Fair Debt Collection Practices Act, 15 U.S.C. section 1692 et seq., debt collectors are prohibited from engaging in
abusive, deceptive, and unfair debt collection efforts, including but not limited to: (i) the use or threat of violence; (ii) the use of obscene or
profane language; and (iii) repeated phone calls made with the intent to annoy, abuse, or harass.

NEW YORK - If a creditor or debt collector receives a money judgment against you in court, state and federal laws prevent the following types
of income from being taken to pay the debt: 1) Supplemental security income (SSI); 2) Social security; 3) Public assistance (welfare); 4)
Spousal support, maintenance (alimony) or child support; 5) Unemployment benefits; 6) Disability benefits; 7) Workers' compensation benefits;
8) Public or private pensions; 9) Veterans' benefits; 10) Federal student loans, federal student grants, and federal work study funds; and 11)
Ninety percent of your wages or salary earned in the last sixty days. PennyMac Loan Services, LLC is registered with the Superintendent of
the New York State Department of Financial Services (Department). You may obtain further information or file a complaint by calling the
Department’s Consumer Assistance Unit at 1-800-342-3736 or by visiting www.dfs.ny.gov.

NORTH CAROLINA - Licensed by the North Carolina Office of the Commissioner of Banks. Complaints regarding the servicing of your
mortgage may be submitted to the Office of the Commissioner of Banks, 316 W. Edenton Street, Raleigh, NC 27603, (919) 733-3016.
Licensed by the North Carolina Department of Insurance. Permit No. 119504607 - 6101 Condor Dr., Suite 200, Moorpark, CA 93021. Permit
No. 119505929 - 14800 Trinity Blvd., Fort Worth, TX 76155. Permit No. 119506567 - 3043 Townsgate Rd., Suite 200, Westlake Village, CA
91361. Permit No. 119506570 - 2201 West Plano Parkway, Suites 150 and 300, Plano, TX 75075. Permit No. 119507419 - 10550 West
Charleston Blvd., Suite A, Las Vegas, NV 89135.

OREGON - Borrowers: The Oregon Division of Financial Regulation (DFR) oversees residential mortgage loan
servicers who are responsible for servicing residential mortgage loans in connection with real property located in
Oregon and persons required to have a license to service residential mortgage loans in this state. If you have
questions regarding your residential mortgage loan, contact your servicer at (800) 777-4001. To file a complaint
about unlawful conduct by an Oregon licensee or a person required to have an Oregon license, call DFR at
888-877-4894 or visit dfr.oregon.gov.

                                                             Licensing Information


         Equal Housing Opportunity, PennyMac Loan Services, LLC, 3043 Townsgate Rd, Suite 200, Westlake Village, CA 91361,
818-224-7442. NMLS ID # 35953. For licensing information, go to: www.nmlsconsumeraccess.org. Arizona Mortgage Banker License #
0911088. Licensed by the Department of Financial Protection and Innovation under the California Residential Mortgage Lending Act.
Colorado: Colorado office: 5500 South Quebec Street, Suite 260, Greenwood Village, Colorado 80111, (877) 215-2552. Massachusetts
Mortgage Lender License # MC35953. Minnesota: This is not an offer to enter into an agreement and an offer may only be made pursuant to
Minn. Stat. §47.206 (3) & (4). Licensed by the N.J. Department of Banking and Insurance. Licensed Mortgage Banker-NYS Department of
Financial Services. Rhode Island Lender License # 20092600LL. For more information, please visit PENNYMAC.COM/state-licenses. Not all
property types qualify. Some loan products may not be available in all states. Information, property type eligibility, rates and pricing are subject
to change without prior notice at the sole discretion of PennyMac Loan Services, LLC. Ask your loan officer for details. All loan programs
subject to borrowers meeting appropriate underwriting conditions. This is not a commitment to lend. Other restrictions apply. The information
included in this communication is considered confidential and proprietary, and any unauthorized reproduction is prohibited. © 2025 Private
National Mortgage Acceptance Company, LLC, Pennymac and all related marks are trademarks of Private National Mortgage Acceptance
Company, LLC and/or its subsidiaries or affiliates. All rights reserved. (01-2025)
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